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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

UNITED STATES OF AMERICA

v.                                                 CASE NO: 2:18-cr-71-FtM-99CM

MICHAEL FREY, M.D.


                       REPORT AND RECOMMENDATION
                        CONCERNING PLEA OF GUILTY

      The Defendant, by consent (Doc. 10), has appeared before me pursuant to Rule

11, Fed. R. Crim. P. and Rule 6.01(c)(12), Middle District of Florida Local Rules, and

has entered a plea of guilty to Counts One and Two of the Information.          After

cautioning and examining the Defendant under oath concerning each of the subjects

mentioned in Rule 11, I determined that the guilty plea was knowledgeable and

voluntary as to Counts One and Two, and that the offenses charged are supported by

an independent basis in fact containing each of the essential elements of such Counts.

I, therefore, respectfully RECOMMEND that the plea of guilty be accepted and that

the Defendant be adjudged guilty and have sentence imposed accordingly.           The

parties have waived the fourteen-day objection period to this Report and

Recommendation (Docs. 9, 10).

      DONE AND ENTERED at Fort Myers, Florida, this 4th day of June, 2018.
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Copies to:

The Honorable Sheri Polster Chappell
Counsel of Record




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